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          EXHIBIT 32
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Subject: I spoke with Richard ‐ he is in London
From: "Engle, Craig" <Craig.Engle@aren ox.com>
Date: 9/10/2021, 9:35 AM
To: Joey Allaham <joeyallaham13@gmail.com>

He said that he has the issue of evacua ng the women judges in front of Qatar, and they are interested in helping out, so that is
what they are focusing on at the moment. A er that he said he will be able to get their a en on again on Qatar.com

I gave him a briefing about the Broidy case. I told him I didn’t need him to do anything now, but that I wanted to make sure he
know.



Craig Engle
Partner

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